              Case 6:14-bk-05012-CCJ          Doc 54     Filed 08/30/18     Page 1 of 2



                                         ORDERED.

         Dated: August 29, 2018




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     Orlando DIVISION

In re:

                                                                                  Case No:14-05012
                                                                                          Chapter 7
TARONICA WHITE


                       Debtor(s)         /

               ORDER GRANTING MOTION FOR AUTHORITY TO PAY
            ADMINISTRATIVE EXPENSE TO INTERNAL REVENUE SERVICE

          THIS CASE came on for consideration on the Motion for Authority to Pay

Administrative Expense to Internal Revenue Service (Doc #40) filed by Arvind Mahendru,

Trustee (“Trustee”). The Court considered the record and finds:

          1. The Trustee filed a Motion for Authority to Pay Administrative Expense to Internal

Revenue Service ["Motion"] (Doc #40) on July 26, 2018.

          2. A Certificate of Service was filed on the docket stating that copies of the Motion were

served to all persons on a current mailing matrix by either electronic transmission or by first-

class United States Mail, postage prepaid, in accordance with F.R.B.P. 7004 on July 26, 2018.
             Case 6:14-bk-05012-CCJ           Doc 54   Filed 08/30/18    Page 2 of 2



       3. The Motion contained a negative notice provision pursuant to Local Rule 2002-4

which allowed creditors and parties in interest a period of twenty - one (21) days from the date of

service of the Motion to file an objection.

       4. The twenty – one (21) day notice period has expired and no objections to the Motion

have been filed with the Bankruptcy Court.

Based on the foregoing it is

       ORDERED as follows:

       1. The Motion is hereby GRANTED.

       2. The Trustee is hereby authorized to pay Internal Revenue Service the amount of

$9,664.00.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
